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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF GEORGIA
                         COLUMBUS DIVISION

MISTY M. WILSON,                  )
                                  )                Civil Action Number:
                                  )
       Plaintiff,                 )                Jury Trial Demanded
v.                                )
                                  )
CHATTAHOOCHEE SLEEP CENTER, )
LLC, a Domestic Limited Liability )
Corporation and LETITIA HOUSTON, )
an individual and BRYANT HOUSTON )
 an individual,                   )
                                  )
       Defendants.                )

                                 COMPLAINT

      COMES NOW Plaintiff Misty M. Wilson (hereinafter “Plaintiff”) by and

through her undersigned counsel, and files this lawsuit against Defendant

CHATTAHOOCHEE SLEEP CENTER, LLC (“CSL”) and Defendant Leticia

Houston (“Leticia Houston”) and Defendant Bryant Houston (“Bryant Houston”)

(collectively “Defendants”) on behalf of herself, pursuant to § 216(b) of the Fair

Labor Standards Act of 1938, and in support thereof would further state as follows:

                               INTRODUCTION

      1. The instant action arises from Defendants’ violations of Plaintiff’s rights

under the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq., as amended
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(hereinafter “FLSA”), and specifically provisions of the FLSA found at § 216(b) to

remedy violations of the overtime provisions of the FLSA by Defendants which

have deprived Plaintiff, of her lawful overtime wages, and § 215(a)(3) which

prohibits retaliation.

      2. Plaintiff was employed by Defendants, working as a sleep lab technician

scheduled to work shifts from 7:00 p.m. to 7:00 a.m. (6:00 p.m. to 7:00 a.m. if

child client(s) scheduled) at Defendants’ sleep center located at 2410 Double

Churches, Suite B Columbus, GA 31909..

      3. Plaintiff was employed full time by Defendants as a sleep lab technician

from on or about January, 2018 through on or about May 21, 2021 when her

employment was unlawfully terminated by Defendants.

      4. During the employment of Plaintiff, Defendants committed violations of

the FLSA by failing to compensate Plaintiff at the legally appropriate overtime rate

for hours worked in excess of 40 hours in a given workweek.

      5. Plaintiff seeks overtime compensation for work performed, an equal

amount of liquidated damages, attorneys’ fees, costs, and other appropriate relief

pursuant to 29 U.S.C. § 216(b).

      6. Plaintiff also seeks reinstatement, compensation for front pay and for the

wages lost as a result of retaliatory conduct, an equal amount as liquidated


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damages, attorneys’ fees, costs, and other appropriate relief pursuant to 29 U.S.C.

§ 216(b).

                           JURISDICTION AND VENUE

      7.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 (federal question jurisdiction), and 29 U.S.C. § 216(b) (FLSA).

      8. Venue is proper in the Middle District of Georgia under 28 U.S.C.

§ 1391 (a) and (c) because some of the acts complained of occurred within the

State of Georgia and the jurisdiction of this Court and because Defendants are

subject to personal jurisdiction in this District.

                                       PARTIES

      9. Plaintiff Misty M. Wilson resides in Auburn, Alabama and is a citizen of

the United States and submits to the jurisdiction of this court.

      10. At all times material to this action, Plaintiff was an “employee” of

Defendants defined by § 203(e)(1) of the FLSA, and worked for Defendants within

the territory of the United States. Plaintiff is further covered by §§ 203, 207, and

215 of the FLSA for the period in which she was employed by Defendants.

      11. Defendant CSL is a limited liability corporation formed under the laws

of the State of Georgia and owns and operates a sleep center in Columbus,

Georgia.


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      12. Defendant Leticia Houston upon information and belief is an individual

owner of CSL, and upon information and belief is a resident of Midland, Muscogee

County, Georgia.

      13. Defendant Leticia Houston distributed the work schedules to Plaintiff.

      14. Defendant CSL Houston is the Clinical Director for CSL.

      15. Defendant Bryant Houston is listed on the Articles of Incorporation of

CSL found on the Georgia Secretary of State’s web site as a manager in whom is

vested the management of the CSL. He is also listed as the registered agent

of Defendant and upon information and belief is a resident of Midland, Muscogee

County, Georgia.

      16.    Defendant Bryant Houston, on December 6, 2018, sent to Plaintiff an

offer letter to join CSL as a sleep lab technician, stating in part "[y]our salary will

be $40,000 annually."

      17.     Defendant Bryant Houston, on May 30, 2019, sent an email to

Plaintiff and other employees of CSL with a subject of "CSL Overtime," stating in

part: "Team, I have been notified of several inquiries regarding overtime. Overtime

with our firm applies to employees paid on an hourly basis. You are exempt from

overtime if you are a full time, salaried. And have an annual income above

$23,600. Translated, this means your salary is fixed, which means you get paid no


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matter the work load . . . Thank you. Bryant Houston Partner Chattahoochee Sleep

Center, LLC."

      18.    Defendants conduct business within this State and District.

      19. Defendants maintained either actual or constructive control, oversight

and direction of Defendants’ sleep center, including the employment and pay and

other practices of that operation.

      20. CSL is subject to personal jurisdiction in the State of Georgia for

purposes of this lawsuit and can be served through its registered agent, Bryant

Houston , 11100 County Line Rd, Midland, Muscogee County, GA, 31820.

      21. Defendant Leticia Houston is subject to personal jurisdiction in the State

of Georgia for purposes of this lawsuit and can be served by delivering a copy of

the summons and of the complaint to Defendant Leticia Houston personally at

11100 County Line Rd, Midland, Muscogee County, GA, 31820.

      22. Defendant Bryant Houston is subject to personal jurisdiction in the State

of Georgia for purposes of this lawsuit and can be served by delivering a copy of

the summons and of the complaint to Defendant Bryant Houston personally at

11100 County Line Rd, Midland, Muscogee County, GA, 31820.




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      23. At all times material to this action, CSL was an enterprise engaged in

commerce or in the production of goods for commerce as defined by § 203 of the

FLSA, and had an annual gross volume of sales which exceeded $500,000.

      24. At all times material to this action, CSL was an "employer" of Plaintiff,

as defined by § 203(d) of the FLSA.

      25. Upon information and belief, at all times material to this action,

Defendant Leticia Houston was an “employer” of Plaintiff, as defined by § 203(d)

of the FLSA.

      26. Upon information and belief, at all times material to this action,

Defendant Bryant Houston was an “employer” of Plaintiff, as defined by § 203(d)

of the FLSA.

      27. The overtime provisions set forth in § 207 of the FLSA apply to

Defendants.

                          FACTUAL ALLEGATIONS

      28. Beginning the summer of 2018 Plaintiff became a part time hourly sleep

lab technician for Defendants.

      29. Pursuant to an offer letter from Bryant Houston, Director of CSL, dated

December 6, 2018, Plaintiff became a full-time salaried sleep lab technician on or

about January, 2019.


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      30. At all times relevant to when Plaintiff was employed as a salaried

employee as a sleep lab technician by Defendants, Plaintiff was at times required

to work in excess of forty (40) hours a week.

      31. At all times relevant to this action, Plaintiff was a non-exempt employee

for purposes of overtime compensation.

      32. At all times relevant to this action, Defendants had a policy and/or

practice of not compensating Plaintiff for time worked in excess of 40 hours per

week on a basis of one and one-half times minimum wage at which he was by law

required.

      33. Defendants failed to meet the requirements for any of the exemptions

from application of the overtime compensation requirements of the FLSA under 29

U.S.C. §§ 207 or 213 with respect to Plaintiff.

      34. Defendants are liable to Plaintiff for compensation for any and all time

worked in excess of 40 hours per week at the rate of at least one and one-half times

minimum wage at which Plaintiff was legally required to be paid under the

compensation requirements of the FLSA under 29 U.S.C. §§ 203, and 207.

      35. By reason of the said intentional, willful and unlawful acts of

Defendants, Plaintiff has suffered damages plus incurring costs and reasonable

attorneys’ fees.


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      36. As a result of Defendant's willful violations of the FLSA, Plaintiff is

entitled to liquidated damages.

      37.    On or about April 16, 2921, Plaintiff was contacted by former CSL

employee, Ms. Henderson, that an investigation into unpaid overtime issues at CSL

was begun.

      38.    Ms. Henderson advised Plaintiff to expect a phone call from the

Department of Labor (“DOL”) investigator.

      39.    Subsequently, Sandra Bryant (“Bryant”) from the department of

labor did call Plaintiff and ask that she gather the weeks that she worked

over 40 hours and send it to her in an email.

      40.    Subsequently Plaintiff was asked by Defendant CSL Houston           to

cover a coworker’s vacation and work extra hours.

      41.    Plaintiff was willing to work if paid overtime after 40 hours.

      42.    Plaintiff was then told over the phone by Defendant CSL Houston

that CSL pay periods are the first thru the fifteenth and then the sixteenth

through the end of the month and that overtime would be paid after 80

hours in any said pay period.

      43.    Plaintiff then contacted Bryant on May 5th to clarify that whether she

should be paid overtime after 40 hours in a week.


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      44.    Ms. Bryant agreed with Plaintiff

      45.    Plaintiff texted Defendant CSL Houston what Bryant had said about

overtime.

      46.    Defendant CSL Houston texted Plaintiff back the next day that the

shifts were covered and removed Plaintiff from the schedule for the extra shifts.

      47.    Defendants CSL and Bryant Houston on May 7th at CSL’s

online monthly staff meeting informed Plaintiff that we would be moved to

hourly pay from salary.

      48.    On May 12, 2021 Defendant Bryant Houston stated that Bryant at the

DOL labor had suggested that CSL move to an hourly rate.

      49.    Plaintiff emailed Bryant about the meeting and asked if she told CSL

to put us on hourly pay.

      50.    Bryant called Plaintiff and said that she would call Defendant CSL

Houston and that she must be confused because she only told them how to

calculate for overtime after 40 hours from a salary.

      51.    On Friday May 21, 2021 Plaintiff received a call from Defendant

Bryant Houston stating that she needed to return her key fob as they were

going to have to let her go,




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      52. Defendants terminated Plaintiff’s employment illegally in retaliation for

participating with the DOL to obtain overtime pay.

      53.    Plaintiff is also entitled to reinstatement, compensation for front pay

and for the wages lost as a result of retaliatory conduct, an equal amount as

liquidated damages, attorneys’ fees, costs, and other appropriate relief pursuant to

29 U.S.C. § 216(b).

      54. Plaintiff has retained the undersigned counsel to represent her in this

action, and pursuant 29 U.S.C. § 216(b), Plaintiff is entitled to recover all

reasonable attorneys' fees and costs incurred in this action.

      55. Plaintiff demands a jury trial.

                                     COUNT I

      56. Plaintiff repeats and incorporates by reference paragraphs 1-55 herein.

      57. Defendants have willfully, intentionally, and/or recklessly engaged in a

widespread pattern and practice of violating the provisions of the FLSA, as

detailed herein, by failing to properly pay overtime compensation to Plaintiff in

accordance with §§ 203 and 207 of the FLSA.

      58. As a result of Defendants’ violations of the FLSA, Plaintiff has suffered

damages by failing to receive overtime wage compensation in accordance with §§

203 and 207 of the FLSA.


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      59. Defendants have not made a good faith effort to comply with the FLSA

with respect to their overtime compensation of Plaintiff.

      60. As a result of the unlawful acts of Defendants, Plaintiff has been

deprived of overtime wage compensation in an amount to be determined at trial,

and is entitled to recovery of such amounts, liquidated damages, pre- and post-

judgment interest, attorneys' fees, costs and other relief.

                        COUNT II (FLSA RETALIATION)

      61. Plaintiff repeats and incorporates by reference paragraphs 1-60 herein.

      62. Plaintiff engaged in protected activity (29 USC § 215(a)(3)) when she

participated with the DOL in its investigation of Defendant’s failure to pay

overtime as required.

      63. Plaintiff engaged in protected activity when she complained of being

owed back overtime pay.

      64. Defendants immediately terminated Plaintiff after she engaged in

protected activity.

      65. Defendants terminated Plaintiff in retaliation of her engaging in

protected activity.

      66. Defendants terminated Plaintiff in retaliation for her complaint of being

owed back overtime pay.


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                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and, pursuant to § 216(b) of the

FLSA, prays for the following relief:

      A.    That Plaintiff be awarded damages in the amount of her unpaid

compensation, plus an equal amount of liquidated damages;

      B. That Plaintiff be awarded pre- and post-judgment interest;

      C.    That Plaintiff be reinstated;

      D.    That Plaintiff be compensated for front pay;

      E.    That Plaintiff be compensated for the wages lost as a result of

retaliatory conduct, an equal amount as liquidated damages;

      F. That Plaintiff be awarded reasonable attorneys' fees;

      G. That Plaintiff be awarded the costs and expenses of this action; and

      H. That Plaintiff be awarded such other, further legal and equitable relief,

including, but not limited to, any injunctive and/or declaratory relief to which she

may be entitled.

      Respectfully submitted this 31st day of May , 2011.


                                        MARTIN & MARTIN, LLP

                                                 By: /s/ Thomas F. Martin
                                                 Thomas F. Martin
                                                 tfmartinlaw@msn.com

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                                   Georgia Bar No. 482595

                                   Kimberly N. Martin
                                   Kimberlymartinlaw@gmail.com
                                   Georgia Bar No. 473410

                                   MARTIN & MARTIN, LLP
                                   Post Office Box 1070
                                   Tucker, Georgia 30085-1070

                                   770-344-7267




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